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                                                                    FILED: October 5, 2023

                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT


                                           No. 21-6992
                          (2:16-cr-00097-AWA-LRL-2; 2:18-cv-00175-AWA)


        UNITED STATES OF AMERICA,

                             Plaintiff - Appellee,

                     v.

        NATHANIEL POWELL, a/k/a Nate,


                             Defendant - Appellant.




                                              ORDER


              Nathaniel Powell seeks to appeal the district court’s order denying relief on

        his 28 U.S.C. § 2255 motion. We grant a certificate of appealability on the issue of

        whether Powell’s trial counsel rendered ineffective assistance by failing to present a

        lease agreement and witness testimony to rebut the Government’s assertion that

        Powell maintained a residence on Gateway Drive in Portsmouth, Virginia, for the
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        distribution of controlled substances. Counsel will be appointed to represent Powell,

        and a formal briefing schedule will be established, by separate order.

                                                     For the Court

                                                     /s/ Nwamaka Anowi, Clerk




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